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lN THE UNI'I'ED STATES DISTRICT COURT
FOR THE DlSTRlCT OF MARYLAND

BROCK STONE, et al., *
Plaintiffs, *
v. * ClVlL NO.: GLR-l7-2459
DONALD J. TRUMP, et al. . *
Defendants. *
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This case was referred to me for all discovery and related scheduling matters on May 7,
2018 (See ECF No. 152, re-assigned on May 7, 2018). Pending now before me are three
motions: (l) Plaintiffs’ motion to compel discovery (ECF No. 177), (2) Plaintiffs’ motion for
judicial determination of privilege (ECF No. 178), and (3) Defendants’ motion for a protective
order (ECF No. 179). 'I'his litigation resulted from the ban on transgender persons serving in the
military which was first announced on social media by President Donald Trump. Plaintiffs allege
the ban instituted by President Trump and the Trump administration violates the Equal
Protection component of the Fifth Amendment’s Due Process Clause, violates substantive due
process, and violates 10 U.S.C. § 1074 by denying medical treatment to military personnel (ECF
No. 39).
Introduction
On July 26, 2017, President Trump published three tweets which collectively stated:
After consultation with my Generals and military experts, please
be advised that the United States Govemment will not accept or

allow [t]ransgender individuals to serve in any capacity in the U.S.
Military. Our military must be focused on decisive and

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overwhelming victory and cannot be burdened with the
tremendous medical costs and disruption that transgenders in the
military would entail. Thank you.

ECF No. 39 at 4.

The facts in this case are set forth in great detail by the Couxt in its November 21. 2017
Memorandum and Order adopted herein. and summarized for simplicity sake. 1`he issue of
service by transgender military members has been addressed by previous administrations On
September 20, 201 l, the military policy of "Don’t Ask, Don’t Tell” ended, which allowed gay,
lesbian, and bisexual service members to serve openly. However, transgender persons were still
banned from service until June 2016. On June 30. 2016, Secretary of Defense Ashton Carter
issued a policy allowing transgender service members to serve openly so long as the individuals
could meet the standards for military readiness

Prior to June 30, 2016, the policy instituted by Secretary Carter allowing transgender
service members went through extensive review by a working group consisting of
representatives of the Arrned Forces, Joint Chiefs of Staff, the service secretaries, and personnel,
training, readiness, and medical specialists from across the Department of Defense (“DoD”).
ECF No. 85. The working group performed a systematic review including commissioning studies
and meetings with transgender service members. outside experts, medical personnel, military
leaders, allied militaries and others. After a year-long study the working group concluded that
open service by transgender service members would not impose any significant burdens on
readiness, deployability, or unit cohesion. ln contrast, President Trump announced a ban on
transgender service via Twitter, stating only that he consulted with “my Generals and military
experts.” After his July 26, 2017 tweets, President Trump issued a Presidential Memorandum

again stating his administration’s position banning transgender military service in August 2017.

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Defendants state in their opposition that President Trump revoked his August 2017
Memorandum allowing the Secretaries of Defense and Homeland Security to “exercise their
authority to implement any appropriate policies concerning military service by transgender
individuals” resulting in the 2018 Presidential Memorandum. ECF 188-27 at l 1.

Plaintiffs allege that President Trump proclaimed, based upon political or
unconstitutional reasons, a ban on transgender service without the properjustification that would
be found through the deliberative process. Plaintiffs seek materials related to the deliberative
process, if any, that existed prior to the tweets or subsequently that resulted in the Trump
administration’s policy banning transgender service and negative accession, denying medical
benefits and requiring discharge of current transgender service members. At the preliminary
injunction stage, this Court ruled that Plaintiffs have established a likelihood of success at least
as to the Equal Protection claim. ECF 85 at 42.

The Motion to Comgel

PlaintiB`s have moved to compel the production of three categories of documents.

(1) Deliberative materials regarding the President’s July 2017 tweets and August 2017
Memorandum;

(2) Deliberative materials regarding the activities of the DoD’s so-called panel of experts
and its working groups (the “Panel”) tasked with developing a plan to study and
implement the President’s decision; and

(3) Deliberative materials regarding the DoD’s implementation Plan and the President’s
acceptance of the Plan in his March 23 Memorandum, including any participation or
interference in that process by ami-transgender activities and lobbyists.

ECF 177-3 at 7.

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ln response, Defendants first argue that this Court should defer any decisions regarding
the motion to compel for recognition of a deliberative process privilege because of pending
dispositive and other motions and recent developments ECF 184 at 4, correcting 177-27. The
C ourt disagrees except as noted below. Local Rule 104.3 directs the parties to continue discovery
despite the existence of a dispute. Loc.R. 104.3 (D.Md. 2016). This rule obviously applies to a
discovery dispute and here, Defendants point out pending motions and multiple discovery issues
as a basis to stay a decision by this Court. "['I`]he power to stay proceedings is incidental to the
power inherent in every court to control the disposition of the causes on its docket with economy
of time and effort for itself`, for counsel, and for litigants." Landis v. N. Am. Co., 299 U.S. 248,
254 (1936). When a dispositive motion has the potential to dispose of the case, it is within the
Court’s discretion to stay discovery pending resolution of that motion. Tilley v. United Sta!es,
270 F.Supp.2d 731, 734 n.l (M.D.N.C. 2003) (citations omitted). ln this case, discovery was
referred to me. As the parties appear to be very litigious and more objections and motions are
expected, there are no justifiable reasons to stay decisions on the discovery disputes pending the
outcome of the dispositive motions or for any other proffered reasons Defendants request to stay
discovery proceedings is DENlED except as noted below.

The deliberative process privilege "encourages free-ranging discussion of altematives:
prevents public confusion that might result from the premature release of such nonbinding
deliberations; and insulates against the chilling effect likely were officials to bejudged not on the
basis of their final decisions but for matters they considered before making up their
minds." Cit_v of Va. Beac}i \'. U.S. Dep'l of (.'r)mmerce. 995 F.2d 1247. 1252-53 (4th Cir. 1993)
(internal quotation marks and citation omitted). To justify application of the deliberative process

privilege, "the government must show that. in the context in which the materials [were] used. the

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documents [were] both predecisional and deliberative." Id. at 1253 (`intemal quotation marks and
citation omitted). Predecisional documents are those "prepared in order to assist an agency
decisionmaker in arriving at his decision," Renegolialion Bd. v. Grumman Aircraft Eng 'g Corp._.
421 U.S. 168, 184 (1975), and deliberative documents are those that "reflect[ ] the give-and-take
of the consultative process by revealing the manner in which the agency evaluates possible
altemative policies or outcomes," Cin of l"a. Beach. 995 F.2d at 1253 (intemal quotation marks
and internal citation omitted). The privilege thus protects "recommendations, draft documents
proposals suggestions and other subjeclive documents which reflect the personal opinions oflhe
writer rather lhan the policy of the agenc_v." ld. (emphasis added) (citation omitted). But "the
privilege does not protect a document which is merely peripheral to actual policy formation; the
record must bear on the formulation or exercise of policy-oriented judgment."ErhyI Corp. v.
U.S. E.P.A., 25 F.3d 1241, 1248 (4th Cir. 1994). ln addition. "since the prospect of disclosure is
less likely to make an advisor omit or fudge raw facts than opinions purely factual material does
not fall within the exemption unless it is inextricably intertwined with policymaking processes
such that revelation of the factual material would simultaneously expose protected deliberation."
City of l"a. Beach._ 995 F.2d at 1253 (intemal quotation marks and citations omitted).

Defendants assert that the deliberative process privilege applies to the categories of
documents Plaintiffs are asking the Court to compel. Plaintiffs argue that this privilege does not
apply at all when a plaintist cause of action turns on the govemment’s intent. ln Re Subpoena
Duces Tecum Served on the Comptroller of Currency, 145 F.3d 1422, 1424 (D.C.Cir. 1998). The
privilege is simply inapplicable where government intent is at the heart of the issue. McPeek v.
Ashcroft, 202 F.R.D. 332, 335 (D.C.Cir. 2001). The Court agrees with Plaintiffs that each of the

categories of compelled documents is likely to contain evidence reflecting Defendants’ intent. It

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also could not be more clear that the Defendants’ intent - whether it was for military purposes or
whether it was purely for political and discriminatory purposes - is at the very heart of this
litigation.

On July 27, 2017, afier Secretary Mattis announced a delay in implementing the plan for
accession and retention of transgender personnel, President Trump took to Twitter to go a step
further and announce to the world that transgender personnel will no longer be able to serve or
continue to serve in the military defense of our country. This Court previously observed that
President Trump’s tweets did not emerge from a policy review, nor did the Presidential
Memorandum identify any policymaking process or evidence demonstrating that the revocation
of transgender rights was necessary for any legitimate national interest. ECF No. 85 at 43. In
fact, the only evidence that is before the Court regarding any review panel, investigatory body, or
discussions regarding transgender service occurred well after the fact of the Presidential tweets
and Memorandum. The Court agrees with Plaintiff`s that the optics of the tweets and
corresponding sudden activity lend themselves to a showing that the decision was made and the
panel was formed to justify and enforce that decision. It is also evident that a previous panel
under a previous Secretary of Defense did extensive studies before a decision was rendered,
incorporating the military leadership and transgender representatives just a few years before
President Trump’s tweets. That panel found no justifiable reason to deny transgender personnel
the honor of military service. lt is hard for this Court to believe circumstances regarding
readiness and deployability have changed so dramatically since that time.

Defendants argue that the Policy Statement of 2018 renders the prior tweets and earlier
Presidential Memorandum moot. The Court finds that argument unpersuasive But for the initial

July 2017 tweets and Presidential Memorandum of August 2017, the Memorandum of March

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2018 would not exist. The panel that was formed to consider transgender service was not formed
until alter the President’s tweets occurred and according to President Trump after discussion
with “my Generals and military experts."' Thus, the Motion to Compel disclosure of the three
categories of documents described by Plaintiff is GRANTED.

Motion for Protective Order

Defendants have moved for a protective order under Fed.R.Civ.P. 26(c)(l) to preclude
discovery directed at the President of the United States and preclude discovery from other
sources that seek information conceming presidential communications and deliberations ECF
No. 179. Also, in support of their motion, Defendants request that this Court stay a decision
pending resolution of ECF No. 115. Defendants argue that if the President is dismissed from the
action and is a non-party, he would have no obligation to respond to interrogatories or requests
for production of documents ECF No. 179 at 10.

Plaintiffs have supplemented their motion to compel with ECF No. 200-1, a decision
rendered by the U.S. District Court in the Westem District of Washington, Karnoski v. Trump.
No. Cl7-1297-MJP, 2018 WL 3608401 (W.D.Wash. July 27, 2018), a companion case where the
District Court granted Plaintiffs’ motion to compel and denied the motion for a protective order.
The Karnoski case is based upon the same basic facts and the pending discovery motions were,
at least as discernible from the opinion, the same as presented here. The District Court, relying
on language in Nixon, denied the protective order because Defendants had failed to assert
executive privilege and to produce a single document or a privilege log. ECF No. 200-1 at ll.

A President`s communications and activities encompass a vastly wider range of sensitive
material than would be true of any ordinary individual. United States v. Nixon, 418 U.S. 683. 715

(1974). Whi|e the President is not above the lawr the Judiciary must afford Presidential

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confidentiality the greatest possible protection. recognizing the paramount necessity of
protecting the Exeeutive Branch from vexatious litigation that might distract it from the energetic
performance of its constitutional duties (_.'heney v. U.S. Disl. Courlfor D.C., 542 U.S. 367, 368
(2004). The right to production of relevant evidence in civil proceedings does not have the same
"constitutional dirnensions” as it does in the criminal context. Nixon. 418 U.S. at 71 1.
This Court recognizes a distinction between discovery involving the President in a

criminal proceedings versus a civil proceeding As the Court stated in (`heney.

Contrary to the District Court’s and the Court of Appeals’

conclusions Nixon does not leave them the sole option of inviting

the Executive Branch to invoke executive privilege while

remaining otherwise powerless to modify a party"s overly broad

discovery requests Executive privilege is an extraordinary

assertion of power "not to be lightly invoked." Once executive

privilege is asserted. coequal branches of the Govemment are set

on a collision course. The Judiciary is forced into the difficult task

of balancing the need for information in a judicial proceeding and

the Executive’s Article ll prerogatives This inquiry places courts

in the awkward position of evaluating the Executive’s claims of

confidentiality and autonomy. and pushes to the fore difficult

questions of separation of powers and checks and balances These

"occasion[s] for constitutional confrontation between the

two branches" should be avoided whenever possible.
542 U.S. at 389-90 (intemal citations omitted). In recognizing this distinction, this Court looks
to Cheney for guidance to avoid the impending collision between two branches of govemment.
The question here is whether this Court can “explore other avenues, short of forcing the
Executive to invoke privilege.” ld. at 390. ln evaluating these other avenues, the Court is
mindful to look back at the facts and how the transgender policy was announced.

On June 30, 2017, one day before the Carter policy allowing transgender service was to

become effective, Secretary Mattis instituted a six month delay in enacting the new policy. On

July 27, 2017, President Trump tweeted transgender persons would no longer be able to serve in

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the military and as for any deliberative process simply stated this policy occurred after
consulting with “my Generals and military experts" There is no evidence to support the concept
that “my Generals and military experts” would have the information Plaintiffs request. There is
no evidence provided to this Court that “my Generals and military experts” are identified, in fact
do exist, or that they would be included in document requests and interrogatories propounded to
the Executive Branch, excluding the President. By tweeting his decisions to the world, the
President has, in fact narrowed the focus of Plaintiffs’ inquiries to the President himself. The
Presidential tweets put the President front and center as the potential discriminating official.

So looking at the whole picture here, there was a fully researched and deliberated policy
supporting military service by transgender persons set to go in effect on July 1, 2017. Secretary
Mattis exercised his authority to delay enactment for six months On July 27, 2017, President
Trump took to Twitter. Whether his Presidential tweets took “my Generals and military experts,”
along with the Trump administration, by surprise and whether these tweets were sua sponte
made or the product of thoughtful discussion is unknown. Just as unknown is the basis for the
decision - be it military “for the good of the service” or discriminatory and unconstitutional for
some other reason. In August 2017. the Presidential Memo was issued. A panel was then
assembled to review the issue of service by transgender persons and that panel made a
recommendation which ultimately became the Presidential Memorandum of March 2018. The
result: transgender persons were banned from military service.

Looking to the Nixon and Cheney decisions the question then becomes whether there are
other means for Plaintifi`s to obtain the information they are entitled to under Fed.R.Civ.P. 26,
and whether those other means place a burden on the Executive Branch with special

considerations regarding the President. This Court takes the instructions of Cheney to apply

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caution when steering the discovery train in a collision course with the function of the Executive
Branch, Put more simply, the Court must determine whether there is an alternative to granting a
protective order and whether justice so requires

So many factors are unknown at this juncture in the litigation. lt is unknown whether
Plaintiff`s can obtain the information necessary from the non-Presidential discovery to define the
“intent" of the government with respect to the transgender ban. Defendants offer as an
altemative, a stay of discovery with respect to the President, until the Motion to Dismiss the
President as a party is decided. lf the President, as the discriminating official, tweeted his
transgender ban sua sponte as alleged, this Court sees no alternative to obtaining the intent of the
government other than denying the protective order with respect to President Trump. Cheney
instructs this Court, however, to give deference to the executive branch because “occasions for
constitutional confrontation between the two branches should be avoided whenever possible.”
ld. at 389-90 (citing Nixon, 418 U.S. at 692).

In order to permit the appropriate discovery to which Plaintiffs are entitled, and to respect
the burden placed upon the Executive Branch, and in particular President Trump, this Court will
DENY in part and GRANT in part the Motion for a Protective Order. d

For the reasons stated herein, the decision as to the Protective Order with respect to
President Trump as a party is STAYED, pending the resolution of the Motion to Dismiss
President Trump as a party. No interrogatories or document requests will be directed to President
Trump as a party, but may be directed to other parties pursuant to this Memorandum Opinion. lf
the Motion to Dismiss is denied, the Court will revisit the issue of the protective order as to

President Trump.

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For the reasons stated herein, the Motion for a Protective Order as to the discovery from

other sources that seeks information concerning presidential communications and deliberations is

DENlED.

Plaintiffs’ Motion for Judicial Determination of Privilege Claims

The Plaintiffs have filed a motion requesting the Court to determine whether two
documents that appear to have been inadvertently provided during discovery are protected by the
deliberative process privilege. ECF No. 178. This Court in this Opinion has granted Plaintiffs’
motion to compel discovery and denied Defendants’ motion for protective order regarding
documents that were part of the deliberative process Theref`ore, the Motion for Judicial
Determination of privilege claims is DlSMISSED as MOOT.

A separate Order will follow.

v big d

Date A. David Copp
United States Magistrate Judge

  

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